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    EXHIBIT A
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

THE ESTATE OF DAVID J. BOSHEA                        *

       Plaintiff,                                    *
                                                         Case No. 1:21-CV-00309-ELH
v.                                                   *

COMPASS MARKETING, INC.                              *

       Defendant.                                    *

*      *         *        *       *       *          *   *     *     *      *       *       *

 DEFENDANT COMPASS MARKETING, INC.’S MOTION IN LIMINE TO EXCLUDE
       PRIOR TESTIMONY OF DAVID J. BOSHEA RELATED TO THE
     FORMATION AND EXISTENCE OF AN ALLEGED ORAL CONTRACT

       Defendant Compass Marketing, Inc. (“Compass Marketing”), by and through its

undersigned counsel, hereby files this Motion in Limine to Exclude Prior Testimony of David J.

Boshea Related to the Formation and Existence of an Alleged Oral Contract. As explained in

greater detail below, Compass Marketing did not have the motive to develop the testimony of

David J. Boshea (“Boshea”) related to his belated oral contract claim during the first trial in this

case. Due to the unexpected death of Boshea1 prior to the upcoming second trial, Compass

Marketing will never have the opportunity to develop Boshea’s testimony regarding an alleged

oral contract. Therefore, Boshea’s prior trial testimony that may relate to the formation and

existence of an alleged oral contract is not admissible pursuant to Rule 804(b)(1) of the Federal

Rules of Evidence, and the Court should not allow such testimony into evidence at the second trial,

currently scheduled to begin on April 21, 2025.




       1
           Boshea passed away on January 28, 2025.
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                                                     ARGUMENT

I.       MOTION IN LIMINE STANDARD

         “A motion in limine is a request for guidance by the court regarding an evidentiary

question.” United States v. Luce, 713 F.2d 1236, 1239 (6th Cir. 1983), aff'd, 469 U.S. 38 (1984).

The purpose of a motion in limine is “‘to aid the trial process by enabling the Court to rule in

advance of trial on the relevance of certain forecasted evidence, as to issues that are definitely set

for trial, without lengthy argument at, or interruption of, the trial.’” United States v. Slagle, No.

SAG-15-392, 2015 U.S. Dist. LEXIS 136059, 2015 WL 5897740, at *1 (D. Md. Oct. 6, 2015)

(quoting Banque Hypothecaire Du Canton De Geneve v. Union Mines, Inc., 652 F. Supp. 1400,

1401 (D. Md. 1987)). Stated differently, “motions in limine are meant ‘to streamline the case for

trial and to provide guidance to counsel regarding evidentiary issues.’” Osei v. Univ. of Maryland

Univ. Coll., 202 F. Supp. 3d 471, 479 n.5 (D. Md. 2016) (quoting Adams v. NVR Homes, Inc., 141

F. Supp. 2d 554, 558 (D. Md. 2001)).

II.      COMPASS MARKETING DID NOT HAVE THE MOTIVE TO DEVELOP
         BOSHEA’S TESTIMONY REGARDING AN ALLEGED ORAL CONTRACT
         DURING THE FIRST TRIAL

         Federal Rule of Evidence 804(b)(1) establishes a hearsay exception for prior testimony

when the declarant is unavailable as a witness. Pursuant to Rule 804(b)(1), the prior testimony of

an unavailable declarant2 is permitted into evidence only when it “was given as a witness at trial,

hearing, or lawful deposition” and “is now offered against a party who had . . . an opportunity and

similar motive to develop it by direct, cross-, or redirect examination.” See FED. R. EVID. 804(b)(1)

(emphasis added).           “To be ‘similar,’ the motives to develop the testimony should be ‘of

substantially similar intensity to prove (or disprove) the same side of a substantially similar issue.’”


         2
             “A declarant is considered to be unavailable as a witness if the declarant: . . . (4) cannot be present or testify
at the trial or hearing because of death[.]” FED. R. EVID. 804(a)(4).

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See Fed. Hous. Fin. Agency v. Merrill Lynch & Co., 2014 U.S. Dist. LEXIS 26130, at *4 (S.D.N.Y.

Feb. 28, 2014) (quoting United States v. DiNapoli, 8 F.3d 909, 914-15 (2d Cir. 1993)). “If a fact

is critical to a cause of action at a second proceeding but the same fact was only peripherally related

to a different cause of action at a first proceeding, no one would claim that the questioner had a

similar motive at both proceedings to show that the fact had been established (or disproved).” See

United States v. DiNapoli, 8 F.3d 909, 912 (2d Cir. 1993).

        As this Court clearly recognized in its previous findings, Compass Marketing did not have

the motive to develop Boshea’s testimony regarding an alleged oral contract at the first trial in this

case, and “[i]n a situation in which the motives differ, the testimony may not be introduced.”

Horne v. Owens-Corning Fiberglas Corp., 4 F.3d 276, 282 (4th Cir. 1993); see also Stanley Martin

Cos. v. Universal Forest Prods. Shoffner LLC, 396 F. Supp. 2d 606, 613 (D. Md. 2005) (excluding

prior deposition testimony in part because the proponent’s motive in developing the testimony

differed from its current litigation strategy).

        Boshea initially brought this lawsuit against his former employer, Compass Marketing, “to

recover unpaid sums owing to him under an agreement titled ‘Compass Marketing, Inc. Agreement

Relating to Employment and Post-Employment Compensation.’” See ECF 1 (Complaint) at ¶ 1

(emphasis added). Prior to the first trial in this case, Boshea amended his Complaint, not once,

but twice, and failed to include a claim for breach of oral contract. In fact, the Second Amended

Complaint contained the exact same language as the original Complaint, and the first paragraph of

that Second Amended Complaint clearly and unambiguously stated: “Boshea has initiated this

diversity action to recover unpaid sums owing to him under an agreement titled ‘Compass

Marketing, Inc. Agreement Relating to Employment and Post-Employment Compensation.’” See

ECF 48 (Second Amended Complaint) at ¶ 1 (emphasis added). Also, similar to the original



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Complaint, the Second Amended Complaint specifically alleged that Compass Marketing

“extended a written offer of employment to Boshea” and, in May 2007, “Boshea and the Defendant

signed the Agreement.” See id. at ¶¶ 10-11. The Second Amended Complaint was the operative

Complaint at the time of the first trial in this case.

        Because Boshea failed to amend the Second Amended Complaint before the first trial,

Compass Marketing only prepared for and only defended against Boshea’s breach of written

contract claim (rather than a breach of oral contract claim that was not pled). Boshea bore the

burden to clearly notify Compass Marketing and the Court of the claims Compass Marketing

would need to defend against at trial; it was not Compass Marketing’s burden to speculate whether

Boshea may add any new claims after the close of the evidence that he neglected to plead in the

original or amended complaints.

        The Court noted in its Memorandum Opinion on Compass Marketing’s Renewed Motion

for Judgment as a Matter of Law, or, in the Alternative, Motion for a New Trial, that Compass

Marketing (and the Court) “always understood the issue in this case [to be] whether there was a

written contract between the parties” and Compass Marketing “was entitled to prepare for trial and

expect to try the case only on claims that were asserted in the [Second Amended Complaint].” See

ECF 275 (Memorandum Opinion) at 16 and 23. This belief explained Compass Marketing’s

“decision to prepare for trial only on the claims based on a written agreement.” See ECF 275 at

20.   Indeed, the Court determined that Boshea “engaged in trial by ambush” because “he was

aware since at least July 2022 . . . that he had a claim based on an oral contract[,] [but] failed to

move to amend his complaint at any time in the period between July 2022, with the filing of ECF

113, and the trial in February 2024.” See ECF 275 at 23. The Court further found that “[t]he

evidence adduced by [Boshea] in support of the written Agreement included events that preceded



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the alleged execution of the written Agreement, on which [Boshea] relies with respect to the

establishment of a claim for an oral contract[,]” but Compass Marketing “had no reason to

challenge alleged shortcomings in the proof of an oral contract.” See ECF 275 at 23 (emphasis

added). Compass Marketing’s lack of motive to illustrate the shortcomings of an alleged oral

contract are further supported by the fact that the “elements of the two claims [breach of written

contract and breach of oral contract] are distinct, and [Compass Marketing] understandably was

focused on disputing the validity of the written Agreement.” See ECF 275 at 23. In other words,

the Court has already acknowledged and found that Compass Marketing did not have the motive

to develop Boshea’s testimony regarding an alleged breach of oral contract.

       Maryland law further supports Compass Marketing’s position to exclude Boshea’s

testimony. In this regard, Maryland law “generally requires giving legal effect to the clear terms

of a contract and bars the admission of prior or contemporaneous agreements or negotiations to

vary or contradict a written contractual term.” Equitable Trust Co. v. Imbesi, 287 Md. 249, 271-

72, 412 A.2d 96, 107 (1980). “Under the parol evidence rule, a written agreement ‘discharges

prior agreements,’ thereby rendering legally inoperative communications and negotiations leading

up to the written contract.” Calomiris v. Woods, 353 Md. 425, 432-33, 727 A.2d 358, 361-62

(1999) (quoting RESTATEMENT (SECOND) OF CONTRACTS § 213 (1979)). This concept under

Maryland law of rendering the negotiations leading up to the written agreement inoperable is

reinforced even further in this case with the purported agreement on which Boshea relied in

bringing his breach of written contact claim expressly stating that “[t]his Agreement shall

supersede and substitute for any previous employment, post-employment or severance agreement

between Employee and COMPASS.” See ECF 1 (Complaint), Exhibit 3 at Article 8.B. Based on

the well-known parol evidence rule and the principle exhibit on which Boshea relied to bring his



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breach of written contract claim, Compass Marketing had no reason to make objections to Boshea’s

testimony that may relate to an alleged oral contract because it always understood the actual claim

it was defending against was one for breach of written contract and there was no possibility of

Boshea relying on any of the proffered evidence to assert a breach of oral contract claim.

Therefore, the alleged communications that Boshea testified to were “legally inoperative” in the

case that Compass Marketing was defending against. Boshea’s testimony (as Compass Marketing

understood it) only added context to the written contract claim that was before the Court. See, e.g.,

Exhibit 1 (Trial Testimony of D. Boshea) at 16:12-17:21, 19:15-21:1, 21:12-16, 22:4-25:14, 29:3-

31:14, 32:19-35:14.3

         Had Compass Marketing been aware that Boshea also was trying to assert and support an

alleged oral contract claim, it would have objected to the testimony that was admitted, and/or

developed the testimony on cross-examination. But Compass Marketing had no reason to develop

this testimony any further at the time. And now, it will never have the opportunity to do so.

Because Compass Marketing did not have a similar motive to develop Boshea’s testimony related

to an oral contract claim, Rule 804(b)(1) of the Federal Rules of Evidence is not applicable and

Boshea’s prior testimony related to any purported oral contract is inadmissible.

                                               CONCLUSION

        For the foregoing reasons, the Court should exclude all of Boshea’s prior testimony related

to the formation and existence of an oral contract at the second trial because Compass Marketing

did not have the motive to develop Boshea’s testimony related to an oral contract at the first trial

and the admission of such testimony would be highly prejudicial to Compass Marketing.




        3
          The cited provisions are those designated by the Estate of Boshea in the Pretrial Order and the testimony
that Compass Marketing seeks to exclude pursuant to this Motion in Limine. See ECF 317 at 9.

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Dated: March 19, 2025              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 19th day of March, 2025, the foregoing Defendant
Compass Marketing, Inc.’s Motion in Limine to Exclude the Prior Testimony of David J. Boshea
Related to the Formation and Existence of an Oral Contract was served via the CM/ECF system
on the following counsel of record:

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